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OF TEXAS
		





NO. AP-76,806








EX PARTE JULIO LUIS NARANJO IGLESIA 

AKA JULIO LUIS NARANJO IGLESIAS, Applicant







ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR-1623-10-J IN THE 430TH DISTRICT COURT


FROM HIDALGO COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of
marihuana and sentenced to fifteen years' imprisonment. 

	Applicant contends that his appellate counsel rendered ineffective assistance because he did
not file a timely notice of appeal. 

	The trial court has determined that appellate counsel's performance was deficient and that
counsel's deficient performance prejudiced Applicant.  We find that Applicant is entitled to the
opportunity to file an out-of-time appeal of the judgment of conviction in Cause No. CR-1623-10-J
from the 340th District Court of Hidalgo County.  Applicant is ordered returned to that time at which
he may give a written notice of appeal so that he may then, with the aid of counsel, obtain a
meaningful appeal.  Within ten days of the issuance of this opinion, the trial court shall determine
whether Applicant is indigent.  If Applicant is indigent and wishes to be represented by counsel, the
trial court shall immediately appoint an attorney to represent Applicant on direct appeal. All time
limits shall be calculated as if the sentence had been imposed on the date on which the mandate of
this Court issues.  We hold that, should Applicant desire to prosecute an appeal, he must take
affirmative steps to file a written notice of appeal in the trial court within 30 days after the mandate
of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: May 23, 2012

Do not publish


